       Case 3:17-cv-00072-NKM-JCH Document 499 Filed 06/04/19 Page 1 of 1 Pageid#: 5279
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                                                                                                             DUEDATE:
                                              TRANSCRIPTORDERFORM
PleaseReadInstructionsonPage2.
1. REQUESTOR’S                                                                      
   INFORMATION:
                                    James E. Kolenich                                       (513) 324-0905
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       6/04/2019                     JEK318@GMAIL.COM
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Kolenich Law Office 9435 Waterstone Blvd. Suite 140                                    Cincinnati OH 45249
2. TRANSCRIPT                        
   REQUESTED:                       
                                     Heidi Wheeler
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                                    Sines et al. v. Kessler et al.                      Joel C. Hoppe
3:17-cv-00072
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6/03/2019                          Motion Hearing                                           Charlottesville VA
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3. SERVICETURNAROUNDCATEGORYREQUESTED:
   ȋSeePage2fordescriptionsofeachserviceturnaroundcategory.Ȍ
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4. CERTIFICATION:ǡ    ȋȌǤ
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 6/04/2019                    
                                s/James E. Kolenich
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          Ifyouhaveanyquestions,pleasecontactthecourtreportercoordinatorat(434)847Ǧ5722
          orbyemailto̷Ǥ ǤǤ

          TranscriptFeeRatescanbefoundonourwebsiteunderStandingOrdersat:
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